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 5   Attorney for Defendant: ATIR DADON

 6                          IN THE UNITED STATES DISTRICT COURT

 7                         FOR THE EASTERN DISTRICT OF CALIFORNIA

 8   UNITED STATES OF AMERICA,                   CASE NO. NO. CR-S-17-00232 GEB

                  Plaintiff,                     STIPULATION AND PROPOSED ORDER
 9
                                                 CONTINUING STATUS
     vs.                                         CONFERENCE DATE
10
     ATIR DADON ET. AL.,
11
                  Defendants.
12

13

14                Defendant: ATIR DADON, through his attorney, PETER KMETO, his co-

     Defendants: BAR SHANI, ADAM ATARI, RAZ RAZLA, and ERAN BUHBUT,
15
     represented by attorneys: CLYDE BLACKMON, BRETT GREENFIELD, GEORGE
16
     MGDESYAN and RANDY SUE POLLOCK , respectively; the United States of America,
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     through its attorneys of record, MATTHEW YELOVICH and MIRIAM HINMAN, stipulate
18
     and agree to the following:
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                 /// ///
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 1                 1. The presently scheduled Status Conference date of January 11, 2019

 2   shall be vacated, and said Hearing shall be rescheduled for February 22, 2019 at 9:00

 3   a.m. for further status.

                   2. Time will be excluded under Local Rule T4.
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                   3. The parties agree and stipulate, and request that the Court find the
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     following:
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                           a.    On October 5, 2018 the government provided defendants
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     with discovery consisting of over 25,745 pages. On December 20, 2018 the government
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     provided defendants with an additional 23,263 pages of discovery;
 9                         b.    Defense counsel require time to: complete a review of the

10   discovery; research legal issues; conduct investigation related to the charges; discuss

11   potential resolutions with their clients and the government; and prepare pretrial motions.

                           c.    Counsel for the Defendants believe that failure to grant the
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     above-requested continuance would deny them the reasonable time necessary for
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     effective preparation, taking into account the exercise of due diligence.
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                           d.    The government does not object to the continuance.
15
                           e.    Based on the above-stated findings, the ends of justice
16   served, by continuing the case as requested, outweigh the interest of the public and the

17   Defendants in a trial within the original date prescribed by the Speedy Trial Act.

18                         f.    For the purpose of computing time under the Speedy Trial

     Act, 18 U.S.C. § 3161, et seq., within which trial must commence, the time period of
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     January 11, 2019 to February 22nd, inclusive, is deemed excludable pursuant to 18
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             Case 2:17-cr-00232-JAM Document 175 Filed 01/10/19 Page 3 of 5


 1   U.S.C. § 3161(h)(7)(A), B(iv) [Local Code T4] because it results from a continuance

 2   granted by the Court at Defendants’ request on the basis of the Court's finding that the

     ends of justice served by taking such action, outweigh the best interest of the public and
 3
     the Defendants in a speedy trial.
 4
                  4. Nothing in this stipulation and order shall preclude a finding that other
 5
     provisions of the Speedy Trial Act dictate that additional time periods are excludable
 6
     from the period within which a trial must commence.
 7                IT IS SO STIPULATED.

 8                Dated: January 8, 2019              /s/ MATTHEW YELOVICH
                                                      Assistant US Attorney
 9                                                    for the Government

10                Dated: January 8, 2019              /s/ MIRIAM HINMAN
                                                      Assistant US Attorney
11                                                    for the Government

12
                  Dated: January 8, 2019             /s/ PETER KMETO
13                                                   Attorney for Defendant
                                                     ATIR DADON
14
                  Dated: January 8, 2019             /s/ CLYDE BLACKMON
15                                                   Attorney for Defendant
                                                     BAR SHANI
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                  Dated: January 8, 2019             /s/ BRETT GREENFIELD
                                                     Attorney for Defendant
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                                                     ADAM ATARI
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 1                Dated: January 8, 2019           /s/ GEORGE MGDESYAN
                                                   Attorney for Defendant
 2                                                 RAZ RAZLA

 3                Dated: January 8, 2019           /s/ RANDY SUE POLLOCK
                                                   Attorney for Defendant
 4                                                 ERAN BUHBUT

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                                      ORDER
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                  UPON GOOD CAUSE SHOWN and the stipulation of the parties IT
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     IS ORDERED that the STATUS CONFERNCE HEARING FOR Defendants ATIR
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     DADON, BAR SHANI, ADAM ATARI, RAZ RAZLA, and ERAN BUHBUT is
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     continued to February 22nd 2019, as set forth above. Furthermore, IT IS FOUND
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     AND ORDERED that, based on the representations made by defense counsel in
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     this stipulation, the ends of justice served by excluding the specified time
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     outweigh the interest of the public and the defendants in a trial within the original
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     date prescribed by the Speedy Trial Act. Therefore, for the purpose of
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     computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et seq., within
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     which trial must commence, the time period of January 11, 2019 to February 22,
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     2019, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A),
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                                               4
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             Case 2:17-cr-00232-JAM Document 175 Filed 01/10/19 Page 5 of 5


 1   B(iv) [Local Code T4] because the factual bases above results in the Court’s

 2   finding that the ends of justice served by taking such action outweigh the best

 3   interest of the public and the defendant in a speedy trial.

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                  Dated: January 10, 2019
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